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 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        No. 2:14-CR-00220 KJM
12                      Plaintiff,
13          v.                                        ORDER
14   YETING LU,
15                      Defendant.
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18                  On April 21, 2015, the court ordered defense counsel to pay the costs of an

19   interpreter provided at hearing on March 25, 2015. ECF No. 109. Counsel has not complied with

20   the court’s order and is therefore ordered to show cause no later than July 21, 2015, why further

21   sanctions of up to $500 in addition to the interpreter costs should not be imposed.

22                  IT IS SO ORDERED.

23   DATED: July 17, 2015.

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25                                                        UNITED STATES DISTRICT JUDGE
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